        Case 1:18-cv-01606-JKB Document 8 Filed 07/25/18 Page 1 of 5


    IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
                 MARYLAND (NORTHERN DIVISION)

In the Matter of the Complaint of Stephen
Willis, as Owner of a 1987 Chris Craft    Civil Action No.: 1:18-CV-01606-JKB
Catalina 381 (Hull I.D. CCNEJ381K687)
for Exoneration from or Limitation of
Liability

          CLAIMANT PRICE & SONS, LLC’s ANSWER TO VERIFIED
      COMPLAINT FOR EXONERATION OR LIMITATION OF LIABILITY &
                       CLAIM FOR DAMAGES

       Price & Sons, LLC, (“Price & Sons”), Claimant, by and through its undersigned

attorneys, James D. Skeen, Terry L. Goddard and Skeen & Kauffman, LLP and pursuant to

Supplemental Admiralty Rule F, hereby files its Answer and Claim for Damages, and

states as follows:

    ANSWER TO STEPHEN WILLIS, AS OWNER OF THE 1987 CHRIS CRAFT
      CATALINA 381 (HULL I.D. CCNEJ381K687) VERIFIED COMPLAINT

        1.     Claimant Price & Sons raises the following negative defenses: (a) the

capacity of the Plaintiff to sue; (b) the authority of the Plaintiff to sue in a representative

capacity; and (c) the averment of the alleged ownership of the vessel in question.

       2.      Claimant Price & Sons raises the following defenses: (a) the Verified

Complaint fails to state a claim upon which relief can be granted; (b) accord and

satisfaction; (c) collateral estoppel; (d) contributory negligence; (e) duress; (f) estoppel;

(g) fraud; (h) illegality; (i) laches; G) payment; (k) release; (1) res judicata; (m) statute of

frauds; (n) statute of limitations; (o) ultra vires; (p) usury; (q) waiver; and (r) privilege.

        3.     Claimant Price & Sons denies the allegations contained in every paragraph

of the Verified Complaint, including the Plaintiffs alleged right to exoneration as well as
            Case 1:18-cv-01606-JKB Document 8 Filed 07/25/18 Page 2 of 5

 the limitation of liability, and demands that the Plaintiff prove each and every allegation

 so alleged.

        4.       Claimant Price & Sons alleges that the vessel in question has a value in

 excess of that claimed by the Plaintiff and that the funds deposited by the Plaintiff are

 insufficient to pay the claims alleged

                                 CLAIM FOR DAMAGES

        5.       Claimant Price & Sons was notified by letter on June 12, 2018, by Stephen

 Willis’ counsel, Leder & Hale, P.C. of the Verified Complaint for Exoneration of

 Limitation of Liability that was filed on June 4, 2018.

        6.       Claimant Price & Sons, by and through its attorney, Skeen & Kauffman,

 LLP., hereby makes a formal claim against the Plaintiff, Stephen Willis, and respectfully

 states as follows:

                STATEMENT OF FACTS COMMON TO ALL COUNTS

       7.       Price & Sons is a Maryland corporation with its principle place of business at

4 Water Street, Charlestown, MD 21914.

         8.      Price & Sons operates Charlestown Marina located at 4 Water Street,

 Charlestown, MD and rents slips to third party vessel owners. At the time of this occurrence

 Price & Sons rented slip no. 21 to the plaintiff, Stephen Willis for the mooring of his 1987

 Chris Craft Catalina 381.

        9.       This claim involves a fire that originated on the vessel, operated and

 controlled by the Plaintiff, Stephen Willis, while moored in slip 21, being used by the Plaintiff

 as a live aboard vessel.




                                                2
        Case 1:18-cv-01606-JKB Document 8 Filed 07/25/18 Page 3 of 5



        10.    On or about December 11, 2017 at approximately 3:30 pm, a fire occurred

on Plaintiff’s vessel and quickly spread to two other vessels, docks, pilings and the roof

structure of the marina

        11.    At the time of the fire plaintiff’s vessel had on board numerous portable

space heaters which were energized with no person on board the vessel.

        12.    The Plaintiff’s vessel was otherwise in a condition which caused and

contributed to the origination of the fire which damaged the marina and two other vessels.

        13.    The Claimant, Price & Sons, has suffered damages as a result of the

Plaintiffs negligence and/or inaction.

        14.    As a result of the fire, Price & Sons was caused to sustain damage to its

marina including the roof structures, pilings, piers and finger docks and electrical

equipment and wiring. Price & Sons also incurred towing costs, employee expenses to

assist in repair and replacement of damaged portions of the marina and lost profits

                               COUNT I-NEGLIGENCE

        15.    Price & Sons hereby restates and incorporates paragraphs one through

fourteen as though repeated verbatim, and further states:

        16.    As a result of the fire, Price & Sons was caused to sustain damage to its

marina including the roof structures, pilings, piers and finger docks and electrical

equipment and wiring. Price & Sons also incurred towing costs, employee expenses to

assist in repair and replacement of damaged portions of the marina and lost profits

       17.      All of Price & Sons damages, losses, and injuries are a direct result of the

breach of duty owed by the Plaintiff to Price & Sons, and as a result of the negligence of

the Plaintiff. Specifically, the Plaintiff was negligent in failing to maintain his vessel in a


                                               3
         Case 1:18-cv-01606-JKB Document 8 Filed 07/25/18 Page 4 of 5

 safe condition employing numerous portable space heaters which were in operation at the

 time of the fire when the vessel was unoccupied and was otherwise engaged in operating,

 managing, and controlling the subject vessel in a careless, dangerous, and negligent

 manner under the circumstances then and there existing. Plaintiff, as owner of the vessel

 had privity and knowledge of the negligent condition of the vessel which contributed to

 Price & Sons damages.

        18.    Price & Sons did not contribute to its injuries.

        19.    Price & Sons did not assume the risk of its injuries.

                             DEMAND FOR JURY TRIAL

       Claimant, Price & Sons, demands a trial by jury on all issues so triable.

       WHEREFORE, Claimant Price & Sons, LLC makes a formal claim against the

Plaintiff, Stephen Willis, and demands One Hundred and Twenty-Five Thousand Dollars

($125,000.00) in damages.


                                     SKEEN & KAUFFMAN LLP

                                     By:     /s/ James D. Skeen
                                             James D. Skeen (Trial Bar No.: 00010)
                                             Terry L. Goddard Jr. (Trial Bar No.: 15460)
                                             Skeen & Kauffman LLP
                                             911 North Charles Street
                                             Baltimore, MD 21201
                                             Phone: (410) 625-2252
                                             Fax: (410) 625-2272
                                             jskeen@skaufflaw.com
                                             tgoddard@skaufflaw.com

                                             Attorneys for Claimant Price & Sons, LLC




                                              4
          Case 1:18-cv-01606-JKB Document 8 Filed 07/25/18 Page 5 of 5



                                CERTIFICATE OF SERVICE

        I the undersigned to hereby affirm that on this       day of July, 2018, I have uploaded

the foregoing to the Court’s ECF/CM filing system and that system has sent copies of this

filing to all those parties currently entered in this case.

                                                /s/ Terry L. Goddard Jr.
                                                Terry L. Goddard Jr.




                                                  5
